                  EXHIBIT 5




Case 3:24-cv-00051-SLG   Document 68-6   Filed 08/09/24   Page 1 of 9
Brook Brisson (AK Bar No. 0905013)
Suzanne Bostrom (AK Bar No. 1011068)
Bridget Psarianos (AK Bar No. 1705025)
Brian Litmans (AK Bar No. 0111068)
TRUSTEES FOR ALASKA
1026 W. Fourth Avenue, Suite 201
Anchorage, AK 99501
Phone: (907) 276-4244
Fax: (907) 276-7110
bbrisson@trustees.org
sbostrom@trustees.org
bpsarianos@trustees.org
blitmans@trustees.org

Attorneys for Plaintiffs Gwich’in Steering
Committee, Alaska Wilderness League, Alaska Wildlife Alliance,
Canadian Parks & Wilderness Society-Yukon,
Defenders of Wildlife, Environment America,
Friends of Alaska National Wildlife Refuges,
National Wildlife Federation, National
Wildlife Refuge Association, Northern
Alaska Environmental Center, Sierra Club,
The Wilderness Society, and Wilderness
Watch

Karimah Schoenhut (pro hac vice)
SIERRA CLUB ENVIRONMENTAL LAW PROGRAM
50 F St., NW 8th Floor
Washington, DC 20001
Phone: (202) 548-4584
Fax: (202) 547-6009
karimah.schoenhut@sierraclub.org

Attorney for Plaintiff Sierra Club

                     THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA




DECL. OF TRACY STONE-MANNING                                                Page 1 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                          Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page12ofof89                    1 of 8
 GWICH’IN STEERING COMMITTEE,                 Case No. 3:20-cv-00204-SLG
 et al.,

                            Plaintiffs,

                     v.

 DAVID BERNHARDT, et al.,

                          Defendants,

                    and

 NORTH SLOPE BOROUGH, et al.,

            Intervenor-Defendants.


                  DECLARATION OF TRACY STONE-MANNING

I, Tracy Marie Stone-Manning, hereby declare as follows:

       1.     I am making this declaration in support of Plaintiffs’ Motion for a

Temporary Restraining Order and Preliminary Injunction in the above-captioned

litigation. I know these facts of my own personal knowledge and would competently

testify to them if called as a witness in these proceedings.

       2.     I earned a Bachelor’s of Arts in radio, television, and film from the

University of Maryland and a Master’s of Science in environmental studies from the

University of Montana. Prior to working at National Wildlife Federation (NWF) I served

as Montana Governor Steve Bullock’s chief of staff, was the director of the Department




DECL. OF TRACY STONE-MANNING                                                Page 2 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                          Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page23ofof89                    2 of 8
of Environmental Quality in Montana, and served as a natural resource adviser and state

director for Montana Senator Jon Tester.

          3.   I joined NWF three years ago as the Associate Vice President for Public

Lands. As the Associate Vice President for Public Lands, I lead the NWF public lands

team. I am also a member of NWF. NWF has a long history in the world of conservation.

The organization’s broad reach, and its “big tent” approach to include all voices of

conservation drove me to become a member. I also joined because the values and goals of

the organization reflect my long standing commitment to iconic landscapes such as the

Arctic.

          4.   In my capacity as Associate Vice President for Public Lands, I am familiar

with all aspects of NWF’s activities and organizational interests related to Alaska and the

Arctic National Wildlife Refuge (Arctic Refuge or Refuge).

          5.   NWF is a 501(c)(3) nonprofit organization incorporated in Virginia. Our

offices are located across the country, including in California, Colorado, Georgia,

Louisiana, Maryland, Michigan, Montana, Texas, Vermont, Virginia, and Washington,

DC. We have approximately six million members, with 20,380 members in Alaska.

          6.   NWF is committed to uniting all Americans to ensure wildlife thrive in a

rapidly changing world. We believe America’s experience with cherished landscapes and

wildlife has helped define and shape our national character and identity for generations.

Protecting these natural resources is a cause that has long united Americans from all



DECL. OF TRACY STONE-MANNING                                                Page 3 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                              Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page34ofof89                        3 of 8
walks of life and political stripes. To hunters, anglers, hikers, birders, wildlife watchers,

boaters, climbers, campers, cyclists, gardeners, farmers, forest stewards, and other

outdoor enthusiasts, this conservation ethic represents a sacred duty and obligation to

protect and build upon our conservation heritage for the sake of wildlife, ourselves, our

neighbors, and — most of all — for future generations.

       7.     Our program goal for the Arctic Refuge is to preserve the Coastal Plain of

the Arctic Refuge as one of the last truly unspoiled places on earth. This includes

preventing any form of leasing for oil and gas development in recognition that the

Refuge, and the habitat and pristine wilderness it provides for polar bear, wolves,

caribou, musk oxen, migratory birds, and countless other wildlife is irreplaceable.

       8.     NWF has worked for decades on protecting the Arctic Refuge. We formally

recognized the value of the Coastal Plain of the Arctic Refuge in 1989 in an internal

policy resolution. Since 2001, it has been our internal policy and goal to work toward a

Congressional designation of the Coastal Plain as Wilderness.

       9.     NWF has engaged in many advocacy efforts to protect the Refuge,

including testifying in support of the Alaska National Interest Lands Conservation Act,

working with a broad coalition to block efforts to drill in the Refuge following the Exxon

Valdez oil spill, and engaging in lobbying and grassroots efforts during the George W.

Bush Administration — including testifying before Congress, organizing rallies, fly-ins,

Congressional visits, and reports. We have also worked with and supported the Gwich’in



DECL. OF TRACY STONE-MANNING                                                Page 4 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                                Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page45ofof89                          4 of 8
and their efforts to protect the Coastal Plain. Our efforts have also specifically focused on

gaining Wilderness designation for the Coastal Plain through lobbying and grassroots and

public engagement.

       10.    NWF engaged in a grassroots outreach and lobbying efforts to advocate

against opening the Refuge under the 2017 Tax Act to oil and gas development.

Subsequently, we have worked with a coalition of indigenous and environmental groups

to strongly oppose the Trump Administration’s plan to begin oil and gas leasing in the

Coastal Plain. We signed on to the coalition’s comments on the draft Environmental

Impact Statement (EIS). In addition, NWF advocates for the Refuge in Congress,

engaging in legislative advocacy at our highest levels. We educate the public and create

awareness about the importance of the Coastal Plain through social media posts and in

the news media. I have published several opinion letters highlighting the issue. NWF

aims to expand this work into grassroots field organizing in key states, dependent on

funding.

       11.    NWF has taken board members, members, and donors on trips to the Arctic

Refuge. For example Larry Schweiger, NWF’s former CEO traveled to the Refuge during

his first summer as CEO. He traveled with donors Diana Blank and Beatrice Bush

Vongontart.




DECL. OF TRACY STONE-MANNING                                                Page 5 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                            Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page56ofof89                      5 of 8
       12.    I have yet to visit the Arctic Refuge, although it’s a life goal of mine to visit

the Coastal Plain. And even if I cannot, knowing that this large chunk of wild land exists

in this country brings me great solace.

       13.    As one of the largest conservation organizations in the United States, and

also as voice for outdoor sportsmen such as hunters, anglers, and birders, it is important

that NWF oppose activity in the Refuge to give a voice to our members. The Arctic

Refuge was set aside for the purposes of protecting wilderness, recreational values, and

wildlife habitat. Bureau of Land Management’s (BLM) plan to allow oil and gas leasing,

seismic exploration, and other oil and gas activities in the Refuge undermines and is

inconsistent with these important and unique values.

       14.    NWF is concerned about BLM’s failure to allow for meaningful public

comment and address our concerns. What this means is that our members — all of whom

believe in the proper management of public lands for fish, wildlife, and communities —

were not afforded sufficient opportunities to comment on the proposed use of the Refuge.

The final EIS and Record of Decision do not adequately address our concerns, and the

concerns submitted by our members, such as providing a reasonable range of alternatives

to protect the Refuge’s sensitive resources, nor do they include an adequate analysis of

impacts to the Mollie Beattie Wilderness and other key Coastal Plain resources or ways

to address those impacts. Had BLM done a more rigorous analysis, it would have

perhaps reached a different, less extraction-focused decision, and provided more



DECL. OF TRACY STONE-MANNING                                                Page 6 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                              Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page67ofof89                        6 of 8
protections for the Coastal Plain, its resources, and the Wilderness, as required by law.

BLM also opened the entire Coastal Plain to seismic exploration and is now rushing

through its approval for a seismic exploration proposal. BLM never did an adequate

analysis of the impacts of seismic exploration or ways to address the serious damage it is

likely to cause to the Coastal Plain.

       15.    A number of our members have visited the Coastal Plain and the

Wilderness and value it for the hunting, fishing, and wilderness opportunities it provides

— all of which would be in jeopardy if leasing, exploration, and development are

allowed. Our members’ ability to continue engaging in these activities on the Coastal

Plain will be harmed by oil and gas activities. One of our missions is to protect public

lands, and our members expect us to fight for these lands. The Refuge is one of the most

pristine places in our country; its loss to development would be a significant loss

ecologically but also programmatically: if we can’t stop development in a place this wild,

how can we be expected to protect other places?

       16.    NWF is funded by charitable contributions from individuals and grant-

making institutions. Much of our funding is restricted by the funding sources to be used

for specific purposes by agreement between NWF and the funder. These funds have

therefore already been spent or will be spent for the restricted purposes for which they

were earmarked. NWF has no funding dedicated to this litigation that could be used to

cover the cost of an injunction bond. NWF’s budget is committed to existing and ongoing



DECL. OF TRACY STONE-MANNING                                                Page 7 of 8
Gwich’in Steering Committee, et al. v. Bernhardt, et al., Case No. 3:20-cv-000204-SLG

                                                                                             Exhibit 5
      Case
       Case3:24-cv-00051-SLG
            3:20-cv-00204-SLG Document 47-15
                                       68-6 Filed 08/09/24
                                                  12/15/20 Page
                                                            Page78ofof89                       7 of 8
                                                                     Exhibit 5
Case
 Case3:24-cv-00051-SLG
      3:20-cv-00204-SLG Document 47-15
                                 68-6 Filed 08/09/24
                                            12/15/20 Page
                                                      Page89ofof89     8 of 8
